Case 24-80035-swe11               Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                   Main Document     Page 1 of 16


Jason S. Brookner (TX Bar No. 24033684)
Aaron M. Kaufman (TX Bar No. 24060067)
Lydia R. Webb (TX Bar No. 24083758)
GRAY REED
1601 Elm Street, Suite 4600
Dallas, TX 75201
Telephone: (214) 954-4135
Facsimile: (214) 953-1332
Email:      jbrookner@grayreed.com
            akaufman@grayreed.com
            lwebb@grayreed.com

Proposed Counsel to the Debtors
and Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                           )
In re:                                                     )    Chapter 11
                                                           )
COTTONWOOD FINANCIAL LTD., et al., 1                       )    Case No. 24-80035 (SWE)
                                                           )
                   Debtors.                                )    (Jointly Administered)
                                                           )

    NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES SUBJECT TO
    POSSIBLE ASSUMPTION AND ASSIGNMENT AND PROPOSED CURE AMOUNTS

        PLEASE TAKE NOTICE that pursuant to the terms of that certain Order (A) Approving
Bidding Procedures and Certain Bid Protections, (B) Scheduling a Bid Deadline, Auction, and
Sale Hearing and Approving the Form and Manner of Notice Thereof, and (C) Approving Cure
Procedures and the Form and Manner of Notice Thereof [Docket No. 151] (the “Bidding
Procedures Order”), the above-captioned debtors and debtors in possession (collectively, the
“Debtors”), may hold an Auction for the sale of substantially all of their assets on April 29, 2024,
at the Dallas office of Gray Reed.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bidding
Procedures Order, the Debtors hereby provide their notice (the “Cure Notice”) of proposed cure
amounts (each, a “Cure Amount,” and collectively, the “Cure Amounts”) for all contracts and
leases subject to potential assumption and assignment to the successful bidder(s) at Auction.

1
 The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
as follows: Cottonwood Financial Ltd. (1001); Cottonwood Financial Administrative Services, LLC (7228);
Cottonwood Financial Texas, LLC (9059); Cottonwood Financial Idaho, LLC (5651); Cottonwood Financial
Wisconsin, LLC (7075). The Debtors’ principal offices are located at 2100 W Walnut Hill Lane, Suite 300, Irving,
TX 75038.



4859-4542-8148.1
Case 24-80035-swe11         Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                Desc
                             Main Document     Page 2 of 16



        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A are schedules
of the executory contracts and unexpired leases (collectively, the “Potential Assumed Contracts
and Leases”) that may be included as part of the sale of the Debtors’ assets and the proposed
Cure Amount for each such lease or contract.

       PLEASE TAKE FURTHER NOTICE that objections to the Cure Amount proposed by
the Debtors must be filed and served by the counterparty (a “Cure Objection”) no later than May
6, 2024 (the “Cure Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that you may request documentation evidencing
adequate assurance of future performance from the Successful Bidder (“Adequate Assurance
Documentation”). Any request for Adequate Assurance Documentation must (i) be made in
writing by email to CWFAdequateAssurance@epiqglobal.com; (ii) contain in the subject line, in
all caps, the phrase “REQUEST FOR ADEQUATE ASSURANCE INFORMATION”; and (iii)
specify the email address(es) for delivery of such Adequate Assurance Documentation. In the
event you make a written request for Adequate Assurance Documentation in strict compliance
with these procedures by no later than April 26, 2024, then the Debtors shall supply responsive
Adequate Assurance Documentation to such contract counterparty by no later than April 30,
2024.

       PLEASE TAKE FURTHER NOTICE that objections to the assumption and
assignment of the applicable Potential Assumed Contract on the basis of lack of adequate
assurance of future performance under section 365(b)(1) (an “Adequate Assurance Objection”)
with respect to the Successful Bidder must be filed by May 6, 2024 (the “Adequate Assurance
Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that any Cure Objection or Adequate Assurance
Objection must: (a) be in writing, (b) state the basis for such objection with specificity,
(c) conform to the Bankruptcy Rules and Local Rules of the Northern District of Texas, (d) be
filed so as to be actually on or before the Cure Objection Deadline or Adequate Assurance
Objection Deadline, as applicable; and (e) served upon the following persons: (i) counsel to the
Debtors, Gray Reed, 1601 Elm Street, Suite 4600, Dallas, TX 75201, Attn: Lydia R. Webb
(lwebb@grayreed.com); (ii) counsel to the Prepetition Secured Parties, Jackson Walker LLP,
Attn: Bruce Ruzinsky (bruzinsky@jw.com), Ken Stohner (kstohner@jw.com) and Machir Stull
(mstull@jw.com); (iii) counsel to the DIP Lender, Wick Phillips LLP, Attn: Jason Rudd
(jason.rudd@wickphillips.com) and Catherine Curtis (catherine.curtis@wickphillips.com); (iv)
counsel to any statutory committee; and (v) the Office of the United States Trustee for the
Northern District of Texas, 1100 Commerce Street, Suite 976, Dallas, TX 75242, Attn: Asher
Bublick (asher.bublick@usdoj.gov).

        PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,
the Cure Amounts set forth in the Cure Notice shall be binding on all parties unless an objection
thereto is timely filed and served. If an objection to the assumption and assignment of the
Potential Assumed Contracts and Leases or to the Cure Notice and any Cure Amount cannot be
resolved consensually among the parties, the Court will set a hearing to determine such matters
as soon thereafter as is practicable, and the Debtors are permitted to give notice only to the
objecting party and those parties who have filed a notice of appearance. The failure to timely file


4859-4542-8148.1
Case 24-80035-swe11         Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48               Desc
                             Main Document     Page 3 of 16



and serve an objection shall be deemed consent to the assumption and assignment of the
Potential Assumed Contracts and Leases and to the Cure Amounts, and any and all objections
thereto shall be deemed forever released and waived.

       PLEASE TAKE FURTHER NOTICE that the inclusion of any contracts or leases on
Exhibit A hereto shall not constitute or be deemed to be a determination or admission by the
Debtors that such document is, in fact, an executory contract or unexpired lease within the
meaning of the Bankruptcy Code (all rights with respect thereto being expressly reserved).

         PLEASE TAKE FURTHER NOTICE that copies of pleadings related to the proposed
sale(s), including the Bidding Procedures Order approved by the Bankruptcy Court, are available
(for free) on the Debtors’ Notice Agent website at https://dm.epiq11.com/CottonwoodFinancial,
or (for a fee) on the Bankruptcy Court’s website at http://ecf.txnb.uscourts.gov/.
         Respectfully submitted this 5th day of April, 2024.

                                              GRAY REED

                                              By: Lydia R. Webb
                                                  Jason S. Brookner (TX Bar No. 24033684)
                                                  Aaron M. Kaufman (TX Bar No. 24060067)
                                                  Lydia R. Webb (TX Bar No. 24083758)
                                              1601 Elm Street, Suite 4600
                                              Dallas, Texas 75201
                                              Telephone: (214) 954-4135
                                              Facsimile: (214) 953-1332
                                              Email:      jbrookner@grayreed.com
                                                          akaufman@grayreed.com
                                                          lwebb@grayreed.com
                                              Proposed Counsel to the Debtors
                                              and Debtors in Possession


                                     Certificate of Service

        I certify that on April 5, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
District of Texas.

                                                 /s/ Lydia R. Webb
                                                 Lydia R. Webb




4859-4542-8148.1
                                  Case 24-80035-swe11               Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                               Desc
                                                                     Main Document     Page 4 of 16

Cottonwood Financial Ltd., et al.
Schedule of Proposed Contract Cure Costs

                                                                                                  Term
Debtor                                              Debtor Case Contract Description                           Contract Counterparty                      Cure Amount
                                                                                                  Remaining
                                                                REAL PROPERTY LEASE:
Cottonwood Financial Administrative Services, LLC   24-80036    CORPORATE OFFICES II (GATEWAY   5/31/2025      1901 GATEWAY HOLDINGS LLC                  $                -
                                                                DRIVE)
                                                                CONTRACT FOR SECURITY SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                    8/29/2024      24&7 SECURITY INVESTIGATIONS, INC          $         4,016.90
                                                                DATED 7-26-22
                                                                MASTER LEASE AGREEMENT FOR
Cottonwood Financial Administrative Services, LLC   24-80036                                    CURRENT        3SI SECURITY SYSTEMS INC                   $         4,870.23
                                                                2019 4XG AT 20 LOCATIONS TX
                                                                MASTER LEASE AGREEMENT DATE 4-
Cottonwood Financial Administrative Services, LLC   24-80036    10-2018 FOR 10 LOCATIONS ESP TX CURRENT        3SI SECURITY SYSTEMS INC                   $                -
                                                                LEASE 2
                                                                CARTON MANAGEMENT AND
Cottonwood Financial Administrative Services, LLC   24-80036                                    3/1/2024       ACCESS CORPORATE                           $        14,202.43
                                                                STORAGE AGREEMENT
                                                                ADOBE SIGN ENTERPRISE SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                    4/20/2024      ADOBE INC                                  $                -
                                                                AGREEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    EQUIPMENT LEASE AGREEMENT         4/11/2024    ASI LEASING                                $                -

                                                                PAYLIANCE ACH CLIENT AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                   6/14/2024       BBM ALLIANCE LLC                           $                -
                                                                (& AMENDMENTS)

Cottonwood Financial Administrative Services, LLC   24-80036    DATABASE LICENSE AGREEMENT        7/1/2024     BLACK BOOK                                 $                -

Cottonwood Financial Administrative Services, LLC   24-80036    HEALTH & BENEFITS                 CURRENT      BLUE CROSS AND BLUE SHIELD OF TEXAS        $                -

Cottonwood Financial Administrative Services, LLC   24-80036    DIALER PHASE 1 AND 2              6/19/2024    CALL SOLUTIONS USA                         $                -

Cottonwood Financial Administrative Services, LLC   24-80036    MANAGED SERVICES AGREEMENT        10/16/2024   CALL SOLUTIONS USA                         $                -

Cottonwood Financial Administrative Services, LLC   24-80036    ADVERTISING SERVICES AGREEMENT 8/29/2024       CAREER BUILDER LLC                         $        16,742.52
                                                                REAL PROPERTY LEASE:
Cottonwood Financial Administrative Services, LLC   24-80036    CORPORATE OFFICES I (WALNUT HILL 3/31/2027     CCI-COTTONWOOD LP                          $        75,822.75
                                                                LANE)
                                                                DAYFORCE MASTER SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                     3/31/2025     CERIDIAN                                   $                -
                                                                AGREEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER AGREEMENT                  5/14/2024    CONNECTWISE INC                            $         7,791.72

                                                                REPOSSESSION SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                      1/12/2025    CONSOLIDATED ASSET RECOVERY SYSTEM INC     $              50.00
                                                                AGREEMENT V5.0.1

Cottonwood Financial Administrative Services, LLC   24-80036    VEHICLE AUCTION AGREEMENT         3/7/2024     COPART, INC.                               $             136.65

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SERVICES AGREEMENT         5/7/2024     DIALEXA LLC                                $                -

                                                                PAYMENT DEVICE PROCESSING
Cottonwood Financial Administrative Services, LLC   24-80036                                      6/1/2024     ELAVON                                     $                -
                                                                AGREEMENT
                                                                EVERCHAIN DEBT SALE
Cottonwood Financial Administrative Services, LLC   24-80036    MANAGEMENT SERVICES               8/18/2024    EVERCHAIN LLC                              $                -
                                                                AGREEMENT EXE 08.18.23
                                                                EXPERIAN STANDARD TERMS AND
Cottonwood Financial Administrative Services, LLC   24-80036                                      5/27/2024    EXPERIAN INFORMATION SOLUTIONS             $       158,757.82
                                                                CONDITIONS




4859-4799-8389.1
                                  Case 24-80035-swe11               Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                          Desc
                                                                     Main Document     Page 5 of 16

                                                                                                  Term
Debtor                                              Debtor Case Contract Description                          Contract Counterparty                    Cure Amount
                                                                                                  Remaining
                                                                MASTER SOLUTIONS AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                      CURRENT     FARR GROUP HOLDINGS LLC                  $              -
                                                                DATED 8/15/2022
                                                                MANAGED CYBERSECURITY
Cottonwood Financial Administrative Services, LLC   24-80036                                      CURRENT     FARR GROUP HOLDINGS LLC                  $              -
                                                                SERVICES SOW DATED 8/15/2022

Cottonwood Financial Administrative Services, LLC   24-80036    RISC SOLUTIONS AGREEMENT          CURRENT     FIDELITY NATL INFORMATION SERVICES INC   $              -

                                                                COTTONWOOD SOFSOW & TERMS OF
Cottonwood Financial Administrative Services, LLC   24-80036                                  1/6/2026        FRESHWORKS INC                           $         7,550.52
                                                                SERVICE
                                                                MASTER SUBSCRIPTION AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                  9/27/2024       FULLSTORY INC                            $              -
                                                                DATED 9/27/2018
                                                                DATAVIEW360 SOFTWARE LICENSE
Cottonwood Financial Administrative Services, LLC   24-80036                                  CURRENT         GDS LINK LLC                             $              -
                                                                AND SUPPORT AGREEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    COLLECTION AGENCY AGREEMENT       3/31/2024   GLASS MOUNTAIN CAPITAL LLC               $              -

Cottonwood Financial Administrative Services, LLC   24-80036    CCG_AGENCY AGREEMENT 2023/2024 3/31/2024      GREETING TEAM, LLC                       $              -

Cottonwood Financial Administrative Services, LLC   24-80036    GENERAL CONTRACT FOR SERVICES 5/6/2024        HIGH COTTON                              $        11,806.95

                                                                ICIMS RENEWAL AGREEMENT 2023 -
Cottonwood Financial Administrative Services, LLC   24-80036                                      6/14/2026   ICIMS INC                                $              -
                                                                2026
                                                                ICIMS CAREER SITE-CRM
Cottonwood Financial Administrative Services, LLC   24-80036                                      6/14/2026   ICIMS INC                                $              -
                                                                AGREEMENT 2023-2026
                                                                MASTER SERVICES AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                      5/18/2024   ICS CORPORATION                          $       240,341.96
                                                                DATED 5/16/2022
                                                                MASTER SERVICES AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                      3/29/2024   ICS CORPORATION                          $              -
                                                                DATED 3/29/2018
                                                                MASTER LICENSE AND SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                      10/5/2024   IMPERVA INCAPSULA INC.                   $              -
                                                                AGREEMENT
                                                                INFOR RENEWAL AGREEMENT 2023-
Cottonwood Financial Administrative Services, LLC   24-80036    2026 AND SUBSCRIPTION LICENSE     6/30/2026   INFOR (US), INC.                         $              -
                                                                AND SERVICES AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036    CONTENT MANAGEMENT                7/29/2024   KENTICO SOFTWARE LLC                     $              -

                                                                COLLECTION AGENCY AGREEMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                      3/31/2024   KOHN LAW FIRM S.C                        $       111,328.52
                                                                2023/2024

Cottonwood Financial Administrative Services, LLC   24-80036    LN FCRA APPLICATION & AGREEMENT 8/1/2024      LEXISNEXIS RISK DATA MANAGEMENT INC      $       118,226.78

                                                                COTTONWOOD - LINKEDIN 2021 - 2024
Cottonwood Financial Administrative Services, LLC   24-80036                                      9/4/2024    LINKEDIN CORPORATION                     $              -
                                                                CONTRACT
                                                                MICROBILT USER LICENSE
Cottonwood Financial Administrative Services, LLC   24-80036                                      8/9/2024    MICROBILT CORPORATION                    $        67,188.03
                                                                AGREEMENT
                                                                MIMEO CUSTOMER SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                      3/2/2024    MIMEO                                    $              -
                                                                AGREEMENT EXECUTED 3.9.20

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SERVICE AGREEMENT          7/29/2024   MODUS DIRECT                             $              -

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SERVICE AGREEMENT           CURRENT    MONSTER WORLDWIDE INC                    $              -

                                                                MASTER SERVICES AGREEMENT &
Cottonwood Financial Administrative Services, LLC   24-80036                                      CURRENT     MOTIVITY LABS INC                        $       161,840.00
                                                                VARIOUS SOW




4859-4799-8389.1
                                  Case 24-80035-swe11                 Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                       Desc
                                                                       Main Document     Page 6 of 16

                                                                                                Term
Debtor                                              Debtor Case Contract Description                         Contract Counterparty                   Cure Amount
                                                                                                Remaining
                                                                MASTER INSTALLMENT PAYMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                    CURRENT      NEC FINANCIAL SERVICES, LLC             $             -
                                                                AGREEMENT
                                                                INFORMATION SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                    CURRENT      NETFORTRIS ACQUISITION CO INC           $      273,501.10
                                                                SUPPLEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    NDA                             11/27/2024   OMNIAPAY LLC                            $             -

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SUBSCRIPTION AGREEMENT 6/24/2024      OPTIMIZELY, INC.                        $             -

                                                                PAYLIANCE CF MERCHANT CARD
Cottonwood Financial Administrative Services, LLC   24-80036                                    9/29/2024    PAYLIANCE                               $             -
                                                                AGREEMENT EXE 9.29.21

Cottonwood Financial Administrative Services, LLC   24-80036    SUBSCRIPTION AGREEMENT          6/29/2024    PING IDENTITY CORPORATION               $             -

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SERVICES AGREEMENT       CURRENT      PLAID TECHNOLOGIES, INC                 $             -

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER AGREEMENT                6/1/2024     PROLEASE                                $             -
                                                                COMMERCIAL SCHEDULE OF
Cottonwood Financial Administrative Services, LLC   24-80036    PROTECTION PROPOSAL AND SALES   CURRENT      PROTECTION ONE ALARM MONITORING, INC.   $       37,116.70
                                                                AGREEMENT
                                                                SOFTWARE DEVELOPMENT
Cottonwood Financial Administrative Services, LLC   24-80036                                    CURRENT      RAVEN DEVELOPMENT INC                   $             -
                                                                AGREEMENT
                                                                MARCH 2020 REPAY MASTER
Cottonwood Financial Administrative Services, LLC   24-80036                                    3/24/2026    REPAY                                   $             -
                                                                SERVICES AGREEMENT
                                                                MERCHANT APPLICATION AND
Cottonwood Financial Administrative Services, LLC   24-80036                                    CURRENT      REPAY                                   $             -
                                                                AGREEMENT
                                                                REPUTATION.COM SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                    4/30/2024    REPUTATION.COM INC                      $             -
                                                                AGREEMENT
                                                                AGREEMENT FOR REPOSSESSION
Cottonwood Financial Administrative Services, LLC   24-80036                                    4/14/2024    RESOLVION, GP                           $       65,023.28
                                                                AND SKIPTRACING SERVICES

Cottonwood Financial Administrative Services, LLC   24-80036    SERVICES CONTRACT               2/1/2026     RING CENTRAL INC                        $       33,090.41

Cottonwood Financial Administrative Services, LLC   24-80036    SUBSCRIPTION AGREEMENT          CURRENT      SAGE SOFTWARE INC                       $             -

                                                                MARKETING CLOUD SUBSCRIPTION
Cottonwood Financial Administrative Services, LLC   24-80036                                    12/15/2024   SALESFORCE MARKETING CLOUD              $             -
                                                                AGREEMENT
                                                                MASTER LICENSE AGREEMENT &
Cottonwood Financial Administrative Services, LLC   24-80036                                    12/15/2024   SAS INSTITUTE                           $             -
                                                                SUPPLEMENTS
                                                                CF TESTCOMPLETE SMARTBEAR
Cottonwood Financial Administrative Services, LLC   24-80036                                    3/30/2024    SMARTBEAR SOFTWARE INC                  $             -
                                                                RENEWAL MARCH 2023

Cottonwood Financial Administrative Services, LLC   24-80036X   2020-12-17 SMARTBEAR RENEWAL    2/21/2024    SMARTBEAR SOFTWARE INC                  $             -

Cottonwood Financial Administrative Services, LLC   24-80036    CROSS BROWSER TESTING           9/30/2024    SMARTBEAR SOFTWARE INC                  $             -

                                                                LOAD NINJA LICENSE AND
Cottonwood Financial Administrative Services, LLC   24-80036                                    8/8/2024     SMARTBEAR SOFTWARE INC                  $             -
                                                                MAINTENANCE AGREEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    BITBAR RENEWAL                  9/27/2024    SMARTBEAR SOFTWARE INC                  $             -

                                                                MARKETING RESPONSE SOLUTIONS
Cottonwood Financial Administrative Services, LLC   24-80036                                    11/17/2024   SOLUTIONS BY TEXT LLC                   $             -
                                                                ENTERPRISE AGREEMENT




4859-4799-8389.1
                                  Case 24-80035-swe11                Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                               Desc
                                                                      Main Document     Page 7 of 16

                                                                                                       Term
Debtor                                              Debtor Case Contract Description                                Contract Counterparty                  Cure Amount
                                                                                                       Remaining
Cottonwood Financial Administrative Services, LLC   24-80036    Q3 2023 SUBSCRIPTION AGREEMENT 7/31/2024            SOLUTIONS BY TEXT LLC                  $              -
                                                                SPRING LAUNCH PARTNER PROGRAM
Cottonwood Financial Administrative Services, LLC   24-80036    CONSUMER LENDING MEMBER       CURRENT               SPRING LABS                            $              -
                                                                AGREEMENT EFF 09.25.19
Cottonwood Financial Administrative Services, LLC   24-80036    MASTER PURCHASING AGREEMENT            CURRENT      STAPLES                                $        47,774.55

Cottonwood Financial Administrative Services, LLC   24-80036    COLLECTION AGENCY AGREEMENT            3/31/2024    SYNERGETIC COMMUNICATION INC.          $              -

                                                                MASTER AGREEMENT FOR
Cottonwood Financial Administrative Services, LLC   24-80036                                  11/15/2024            TELETRACK                              $       158,568.22
                                                                CONSUMER INFORMATION SERVICES
                                                                ELECTRONIC LIEN AND TITLE
Cottonwood Financial Administrative Services, LLC   24-80036    PROGRAM SERVICE LEVEL         CURRENT               TEXAS DEPARTMENT OF MOTOR VEHICLES     $              -
                                                                AGREEMENT
                                                                PRINTERS AS A SERVICE
Cottonwood Financial Administrative Services, LLC   24-80036                                  CURRENT               THE STEWART ORGANIZATION INC           $              -
                                                                AGREEMENT EFF. 9.1.21

Cottonwood Financial Administrative Services, LLC   24-80036X   TOKENEX 2021 AGREEMENT                 11/11/2022   TOKENEX                                $              -
                                                                MASTER AGREEMENT FOR
Cottonwood Financial Administrative Services, LLC   24-80036    CONSUMER REPORTING AND                 7/18/2024    TRANS UNION LLC                        $       491,780.78
                                                                ANCILLARY SERVICES
                                                                TSD PROFESSIONAL SERVICES
Cottonwood Financial Administrative Services, LLC   24-80036                                           CURRENT      TSD SERVICES LTD                       $        58,869.68
                                                                AGREEMENT 12.11.20
                                                                ACCOUNT VERIFICATION SERVICE
Cottonwood Financial Administrative Services, LLC   24-80036                                           9/23/2025    VALID SYSTEMS                          $              -
                                                                AND LICENSE AGREEMENT

Cottonwood Financial Administrative Services, LLC   24-80036    MASTER SERVICES AGREEMENT              CURRENT      VALUKODA LLC                           $              -

Cottonwood Financial Administrative Services, LLC   24-80036    SOFTWARE SUBSCRIPTION                  3/5/2026     VENMINDER INC                          $              -
                                                                LEGAL DEDICATED
Cottonwood Financial Administrative Services, LLC   24-80036    RESOURCEAGREEMENT                      CURRENT      VERGENT LMS INC                        $      133,113.15
                                                                COTTONWOOD FINAL
Cottonwood Financial Administrative Services, LLC   24-80036    EULA EFF. 02.24.22                     9/1/2024     VERGENT LMS INC                        $        98,044.43

                                                                WONDERLIC ANNUAL RENEWAL
Cottonwood Financial Administrative Services, LLC   24-80036                                           3/18/2024    WONDERLIC INC                          $              -
                                                                INVOICE 2023-2024

Cottonwood Financial Administrative Services, LLC   24-80036    XEROX/FP 20201 CONTRACT                8/11/2026    XEROX/FP FINANCE                       $              -

                                                                Confidentiality and Non-solicitation
Cottonwood Financial Administrative Services, LLC   24-80036                                           Various      All Employees                          $              -
                                                                Agreements

Cottonwood Financial Administrative Services, LLC   24-80036    Agreement of Employment                Various      All Employees                          $              -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*             Various      Beth Coggshall                         $              -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*             Various      Lacey Hillman                          $              -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*             Various      Jarrod Buddin                          $              -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*             Various      Cynthia Yepiz                          $              -




4859-4799-8389.1
                                  Case 24-80035-swe11               Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                             Desc
                                                                     Main Document     Page 8 of 16

                                                                                                     Term
Debtor                                              Debtor Case Contract Description                              Contract Counterparty                 Cure Amount
                                                                                                     Remaining
Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*           Various      Ken Schultz                           $             -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*           Various      Adam Ackermann                        $             -

Cottonwood Financial Administrative Services, LLC   24-80036    Retention Bonus Agreement*           Various      Travis Crooks                         $             -

                                                                REAL PROPERTY LEASE: STORE 812
Cottonwood Financial Idaho, LLC                     24-80037                                         11/30/2028   CANYON PLAZA LLC                      $             -
                                                                NAMPA, ID
                                                                REAL PROPERTY LEASE: STORE 806
Cottonwood Financial Idaho, LLC                     24-80037                                         9/30/2028    IDAHO FALLS RETAIL CENTER             $             -
                                                                IDAHO FALLS, ID
                                                                IDAHO ELT AGREEMENT AND ELT SCR
Cottonwood Financial Idaho, LLC                     24-80037                                         CURRENT      IDAHO TRANSPORATION DEPARTMENT        $             -
                                                                - EXE 12.7.22
                                                                REAL PROPERTY LEASE: STORE 805
Cottonwood Financial Idaho, LLC                     24-80037                                         1/31/2027    JAMES R WYLIE                         $             -
                                                                CALDWELL, ID
                                                                REAL PROPERTY LEASE: STORE 810
Cottonwood Financial Idaho, LLC                     24-80037                                         12/31/2029   L&G HOLDINGS UTAH LLC                 $        5,595.64
                                                                BLACKFOOT, ID
                                                                REAL PROPERTY LEASE: STORE 801
Cottonwood Financial Idaho, LLC                     24-80037                                         8/31/2026    MMDM LLC                              $             -
                                                                POCATELLO, ID
                                                                REAL PROPERTY LEASE: STORE 804
Cottonwood Financial Idaho, LLC                     24-80037                                         1/31/2025    SHOPS ON OVERLAND 3 LLC               $             -
                                                                BOISE, ID
                                                                REAL PROPERTY LEASE: STORE 807
Cottonwood Financial Idaho, LLC                     24-80037                                         10/31/2028   SN REEVES LLC                         $             -
                                                                NAMPA, ID
                                                                Confidentiality and Non-solicitation
Cottonwood Financial Idaho, LLC                     24-80037                                         Various      All Employees                         $             -
                                                                Agreements

Cottonwood Financial Idaho, LLC                     24-80037    Agreement of Employment              Various      All Employees                         $             -

                                                                MULTI-USER SOFTWARE LICENSE
Cottonwood Financial Ltd.                           24-80035                                         3/17/2024    ACCELERATED DATA SYSTEMS INC          $             -
                                                                AND SUPPORT AGREEMENT
                                                                FIRE-LIFE SAFETY SERVICES
Cottonwood Financial Ltd.                           24-80035                                         12/1/2024    COMMERCIAL FIRE LLC                   $        3,071.08
                                                                AGREEMENT 12-01-2020
                                                                CORPORATE PARTNER PROGRAM
Cottonwood Financial Ltd.                           24-80035                                         CURRENT      EAN SERVICES LLC                      $             -
                                                                AGREEMENT

Cottonwood Financial Ltd.                           24-80035    SERVICE ORDER AND AGREEMENT          CURRENT      SWIFTREACH NETWORKS INC               $             -

                                                                REAL PROPERTY LEASE: STORE 733
Cottonwood Financial Texas, LLC                     24-80038                                         9/30/2024    10705 GATEWAY WEST LLC                $             -
                                                                EL PASO, TX
                                                                REAL PROPERTY LEASE: STORE 7507
Cottonwood Financial Texas, LLC                     24-80038                                         12/31/2024   1240 WBL LLC                          $             -
                                                                DESOTO, TX
                                                                REAL PROPERTY LEASE: STORE 7121
Cottonwood Financial Texas, LLC                     24-80038                                         10/31/2028   203 LOOP 59 LLC                       $        4,300.42
                                                                ATLANTA, TX
                                                                REAL PROPERTY LEASE: STORE 717
Cottonwood Financial Texas, LLC                     24-80038                                         2/28/2026    2305 S JEFFERSON LLC                  $        3,766.71
                                                                MOUNT PLEASANT, TX
                                                                REAL PROPERTY LEASE: STORE 7103
Cottonwood Financial Texas, LLC                     24-80038                                         8/31/2028    380 TOWNE CROSSING LP                 $             -
                                                                MCKINNEY, TX
                                                                REAL PROPERTY LEASE: STORE 7537
Cottonwood Financial Texas, LLC                     24-80038                                         7/31/2025    4404 W 7TH LLC                        $             -
                                                                WAKE VILLAGE, TX
                                                                REAL PROPERTY LEASE: STORE 744
Cottonwood Financial Texas, LLC                     24-80038                                         7/31/2024    45TH & COULTER LLC                    $        5,907.88
                                                                AMARILLO, TX
                                                                REAL PROPERTY LEASE: STORE 729
Cottonwood Financial Texas, LLC                     24-80038                                         10/31/2028   5949 BROADWAY LTD                     $       11,446.96
                                                                GARLAND, TX




4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                                              Main Document     Page 9 of 16

                                                                                           Term
Debtor                                       Debtor Case Contract Description                           Contract Counterparty                   Cure Amount
                                                                                           Remaining
                                                         REAL PROPERTY LEASE: STORE 7506
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2025    AIA OF 9550 LIMITED COMPANY             $             -
                                                         COMMERCE, TX
                                                         REAL PROPERTY LEASE: STORE 734
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2024    APITX 73 LLC                            $             -
                                                         ROWLETT, TX
                                                         REAL PROPERTY LEASE: STORE 7510
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2026   ASHRAF ALI M NAYANI                     $        5,852.00
                                                         GREENVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 780
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2024    AUSTY LLC                               $             -
                                                         LEVELLAND, TX
                                                         REAL PROPERTY LEASE: STORE 7105
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2028    AVATAR EQUITIES LLC                     $             -
                                                         LEWISVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7110
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    BARLEY SQUARE PARTNERS, L.P.            $             -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 763
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2028    BAR-YADIN FAMILY FOUNDATION             $             -
                                                         BROWNSVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 727
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2028    BILJO PROPERTIES II LLC                 $             -
                                                         WACO, TX
                                                         REAL PROPERTY LEASE: STORE 7183
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2028    BLAIR INVESTMENTS                       $             -
                                                         COLLEGE STATION, TX
                                                         REAL PROPERTY LEASE: STORE 7200
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2028   BLANCO ROAD LLC                         $             -
                                                         SAN ANTONIO, TX
                                                         REAL PROPERTY LEASE: STORE 7143                BRIXMOR HOLDINGS 12 SPE LLC
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2024                                            $             -
                                                         FORT WORTH, TX                                 C/O BRIXMOR OPERATING PARTNERSHIP LP
                                                         REAL PROPERTY LEASE: STORE 746
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2024   BWSC LTD                                $             -
                                                         BORGER, TX
                                                         REAL PROPERTY LEASE: STORE 726
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2028    C&M ALTERNATIVE INVESTMENT INC          $        5,809.66
                                                         LUBBOCK, TX
                                                         REAL PROPERTY LEASE: STORE 7166
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    CENTENNIAL ENTERPRISES LLC              $             -
                                                         EASTLAND, TX
                                                         REAL PROPERTY LEASE: STORE 783
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    CFT NV DEVELOPMENTS LLC                 $        8,215.76
                                                         HOUSTON, TX
                                                         REAL PROPERTY LEASE: STORE 786
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2027    CFT NV DEVELOPMENTS LLC                 $        7,135.76
                                                         HOUSTON, TX
                                                         REAL PROPERTY LEASE: STORE 7187
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2024    CHAPA BLUE LTD                          $        8,291.78
                                                         PHARR, TX
                                                         REAL PROPERTY LEASE: STORE 7203
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2024    CIMARRON CROSSING SOUTH LLC             $       11,083.34
                                                         CORPUS CHRISTI, TX
                                                         REAL PROPERTY LEASE: STORE 785
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2028    CITADEL ASSET HOLDINGS LLC              $             -
                                                         KATY, TX
                                                         REAL PROPERTY LEASE: STORE 773
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2024    CITY VIEW TOWNE CROSSING                $        9,697.23
                                                         FORT WORTH, TX
                                                         REAL PROPERTY LEASE: STORE 7520
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2025    CLIFF NICHOLS ENTERPRISES               $             -
                                                         MINEOLA, TX
                                                         REAL PROPERTY LEASE: STORE 722
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2028    COLONY II SHOPPING CENTER LLC           $             -
                                                         LEWISVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 760
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2027    CROSBY LUPE LP                          $             -
                                                         HOUSTON, TX
                                                         REAL PROPERTY LEASE: STORE 7222
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2027   CROSBY PLAZA LLC                        $             -
                                                         CROSBY, TX
                                                         REAL PROPERTY LEASE: STORE 796
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2028   CYPRESSWOOD HNY INVESTMENT INC          $             -
                                                         HOUSTON, TX



4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                                              Main Document    Page 10 of 16

                                                                                           Term
Debtor                                       Debtor Case Contract Description                           Contract Counterparty                      Cure Amount
                                                                                           Remaining
                                                         REAL PROPERTY LEASE: STORE 7504
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2025   DAH PROPERTIES LLC                         $        3,804.22
                                                         CENTER, TX
                                                         REAL PROPERTY LEASE: STORE 716
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2025    DENBRI SC LLC                              $             -
                                                         DENTON, TX
                                                         REAL PROPERTY LEASE: STORE 7518
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2024   DENISON LP                                 $             -
                                                         MCKINNEY, TX
                                                         REAL PROPERTY LEASE: STORE 799
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    EMUNA ENTERPRISES                          $       14,840.14
                                                         HOUSTON, TX
                                                         REAL PROPERTY LEASE: STORE 7185
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2028    ENA LTD                                    $             -
                                                         TOMBALL, TX
                                                         REAL PROPERTY LEASE: STORE 790
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2028    EXPRESSWAY PLAZA SHOPS LTD                 $       12,695.78
                                                         KILLEEN, TX
                                                         REAL PROPERTY LEASE: STORE 7225
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2028    FLYOVER REIT OPERATING PARTNERSHIP LP      $        7,443.80
                                                         AMARILLO, TX
                                                         REAL PROPERTY LEASE: STORE 757
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2028    FM BAY CITY S/C LP                         $        9,741.38
                                                         BAY CITY, TX
                                                         REAL PROPERTY LEASE: STORE 771
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2027   FREEDOM CENTRE PROPERTIES LLC              $             -
                                                         ROUND ROCK, TX
                                                         REAL PROPERTY LEASE: STORE 767
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2028    FRISCO PRIMELAND REALTY LLC                $             -
                                                         FRISCO, TX
                                                         REAL PROPERTY LEASE: STORE 7503
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2025    GARCIA, CHRISTINA & RENE                   $             -
                                                         CARTHAGE, TX
                                                         REAL PROPERTY LEASE: STORE 720
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2028    GEORGE G BROWN REAL ESTATE LLC             $             -
                                                         TERRELL, TX
                                                         REAL PROPERTY LEASE: STORE 750
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2024   GR ASSOCIATES LLC                          $             -
                                                         GARLAND, TX
                                                         REAL PROPERTY LEASE: STORE 7192
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2029    GRAND PROPERTIES LP                        $             -
                                                         QUINLAN, TX
                                                         REAL PROPERTY LEASE: STORE 766
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2027   GRAND REAL PROPERTY LLC                    $             -
                                                         FORNEY, TX
                                                         REAL PROPERTY LEASE: STORE 7181
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2024    GV HELOTES TOWN CENTER LLC                 $             -
                                                         HELOTES, TX
                                                         REAL PROPERTY LEASE: STORE 7142
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    HAAZ INVESTMENT LLC                        $             -
                                                         PASADENA, TX
                                                         REAL PROPERTY LEASE: STORE 7177
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2028    HANNOVER REALTY PARTNERS LTD               $             -
                                                         SPRING, TX
                                                         REAL PROPERTY LEASE: STORE 7508
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    HENSON SISTERS TRUST LLC                   $             -
                                                         GILMER, TX
                                                         REAL PROPERTY LEASE: STORE 7176                IVT KYLE MARKETPLACE LLC
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028                                               $             -
                                                         KYLE, TX                                       C/O INVENTRUST PROPERTIES CORP
                                                         REAL PROPERTY LEASE: STORE 7174
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2027    JAY BILL ENTERPRISES                       $             -
                                                         BROWNWOOD, TX
                                                         REAL PROPERTY LEASE: STORE 7502
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2025    JB DFW 3 LLC                               $             -
                                                         CANTON, TX
                                                         REAL PROPERTY LEASE: STORE 743
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2027    JGEP INVESTMENTS INC                       $             -
                                                         CARROLLTON, TX
                                                         REAL PROPERTY LEASE: STORE 758
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2027   JIWANIS LEGACY LLC                         $             -
                                                         TYLER, TX
                                                         REAL PROPERTY LEASE: STORE 756
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2027    JPMC 2016-C1 LUBBOCK SOUTHWEST SC II LLC   $       10,028.36
                                                         LUBBOCK, TX



4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                                              Main Document    Page 11 of 16

                                                                                           Term
Debtor                                       Debtor Case Contract Description                           Contract Counterparty                   Cure Amount
                                                                                           Remaining
                                                         REAL PROPERTY LEASE: STORE 724
Cottonwood Financial Texas, LLC              24-80038                                      2/28/2026    JYL FAMILY LIMITED PARTNERSHIP          $       11,722.92
                                                         HURST, TX
                                                         REAL PROPERTY LEASE: STORE 7100
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2029    KIMCO BROWNSVILLE LP                    $             -
                                                         BROWNSVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 728                 KRG EULESS, LLC
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2028                                           $             -
                                                         EULESS, TX                                     C/O KITE REALTY GROUP LP
                                                         REAL PROPERTY LEASE: STORE 7216                KRG GRAPEVINE, LLC
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024                                            $             -
                                                         GRAPEVINE, TX                                  C/O KITE REALTY GROUP LP
                                                         REAL PROPERTY LEASE: STORE 7231
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2028   RPAI Irving LP                          $             -
                                                         IRVING, TX
                                                         REAL PROPERTY LEASE: STORE 730                 KRG MANSFIELD, LLC
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2028                                            $             -
                                                         MANSFIELD, TX                                  C/O KITE REALTY GROUP LP
                                                         REAL PROPERTY LEASE: STORE 710
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2028    KM SHERMAN TOWN CENTER LLC              $             -
                                                         SHERMAN, TX
                                                         REAL PROPERTY LEASE: STORE 779
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2028    KM-TS SPRING CYPRESSLLC                 $             -
                                                         TOMBALL, TX
                                                         REAL PROPERTY LEASE: STORE 702
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2025    KNICKERBOCKER SQUARE LTD                $             -
                                                         SAN ANGELO, TX
                                                         REAL PROPERTY LEASE: STORE 7198
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2024    L3 PATRIOT CENTER KAUFMAN LLC           $             -
                                                         KAUFMAN, TX
                                                         REAL PROPERTY LEASE: STORE 7511
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    LEE COWAN                               $        5,250.00
                                                         HENDERSON, TX
                                                         REAL PROPERTY LEASE: STORE 7119
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2028   LUBY, CAROL ANN                         $             -
                                                         PLANO, TX
                                                         REAL PROPERTY LEASE: STORE 7123
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2029    MAGOON FAMILY LLC                       $       11,764.78
                                                         NEW BRAUNFELS, TX
                                                         REAL PROPERTY LEASE: STORE 7189
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    MAHZ INVESTMENT LLC                     $             -
                                                         CORPUS CHRISTI, TX
                                                         REAL PROPERTY LEASE: STORE 7165
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2026    MALOOLY KIDS INVESTMENTS LLC            $             -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 7516
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    MAURICE VINCENT                         $             -
                                                         LUFKIN, TX
                                                         REAL PROPERTY LEASE: STORE 7171
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2033   MCG II INVESTMENTS INC                  $             -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 7519
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2024   MCKINNEY GROWTH I LP                    $             -
                                                         MCKINNEY, TX
                                                         REAL PROPERTY LEASE: STORE 7152
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2026    MENGER-MUELLER LP                       $             -
                                                         BOERNE, TX
                                                         REAL PROPERTY LEASE: STORE 737
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2027    NATIONAL PRIME COMMERCIAL LLC           $             -
                                                         FORT WORTH, TX
                                                         REAL PROPERTY LEASE: STORE 7512
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2025    NTVMEV LLC                              $        3,863.72
                                                         JACKSONVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7195
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2028    PAF CORPORATION                         $             -
                                                         TEXARKANA, TX
                                                         REAL PROPERTY LEASE: STORE 719
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2029    PAGA LTD                                $             -
                                                         GAINESVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7115
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    PARIS COMMERCIAL LLC                    $             -
                                                         PARIS, TX
                                                         REAL PROPERTY LEASE: STORE 705
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2025    PATSCHKE BIG SPRINGS CROSSING LLC       $       12,615.76
                                                         BIG SPRING, TX



4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                                              Main Document    Page 12 of 16

                                                                                           Term
Debtor                                       Debtor Case Contract Description                           Contract Counterparty                   Cure Amount
                                                                                           Remaining
                                                         REAL PROPERTY LEASE: STORE 701
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2025    PAUL FAMILY PROPERTIES TEXAS LLC        $        7,312.86
                                                         COPPERAS COVE
                                                         REAL PROPERTY LEASE: STORE 739
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2024    PCDF LAKE AIR LLC                       $             -
                                                         WACO, TX
                                                         REAL PROPERTY LEASE: STORE 7191
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2024    PLEASANTON PARTNERS LP                  $             -
                                                         FREDERICKSBURG, TX
                                                         REAL PROPERTY LEASE: STORE 7168
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2026   POINT WEST CENTER LLC                   $             -
                                                         KATY, TX
                                                         REAL PROPERTY LEASE: STORE 7534
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2025    POLLARD HEINES A PROPERTY LLC           $        7,900.00
                                                         TYLER, TX
                                                         REAL PROPERTY LEASE: STORE 741
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2029    POLO TOWNE CROSSING PLANO TX LLC        $             -
                                                         PLANO, TX
                                                         REAL PROPERTY LEASE: STORE 764
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2027   PREMIER ALAMO INVESTMENT GROUP LP       $       16,162.38
                                                         UNIVERSAL CITY, TX
                                                         REAL PROPERTY LEASE: STORE 7505
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2025    PRESERVE CLARKSVILLE INC                $        2,100.00
                                                         CLARKSVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7186
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2028   PRIMERO PROPERTIES LLC                  $             -
                                                         CONROE, TX
                                                         REAL PROPERTY LEASE: STORE 725
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2028    PRVS HOLDINGS LLC                       $             -
                                                         STEPHENVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7109
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2028    PV RIO GRANDE LLC                       $             -
                                                         WESLACO, TX
                                                         REAL PROPERTY LEASE: STORE 7150
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2024    RB SAN JUAN CENTER LLC                  $        8,578.04
                                                         SAN JUAN, TX
                                                         REAL PROPERTY LEASE: STORE 713
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2024    RICHARD JOE RUSHING                     $             -
                                                         DENISON, TX
                                                         REAL PROPERTY LEASE: STORE 732
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2028   RIVER OAKS PROPERTIES LTD               $             -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 7138
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2028   RODCASE INC                             $             -
                                                         EDINBURG, TX
                                                         REAL PROPERTY LEASE: STORE 754
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2025   RUPANI PROPERTIES LLC                   $        8,866.66
                                                         ALICE, TX
                                                         REAL PROPERTY LEASE: STORE 7118
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2028   S&D LLC                                 $             -
                                                         MARSHALL, TX
                                                         REAL PROPERTY LEASE: STORE 762
Cottonwood Financial Texas, LLC              24-80038                                      4/30/2028    SCG WAXAHACHIE CORNERS LLC              $             -
                                                         WAXAHACHIE, TX
                                                         REAL PROPERTY LEASE: STORE 7199
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2024    SEGUNDO ETAPA LLC                       $             -
                                                         VICTORIA, TX
                                                         REAL PROPERTY LEASE: STORE 745
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2025    SFP POOL THREE SHOPPING CTR LP          $             -
                                                         PLAINVIEW, TX
                                                         REAL PROPERTY LEASE: STORE 747
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    SFP POOL THREE SHOPPING CTR LP          $             -
                                                         BELTON, TX
                                                         REAL PROPERTY LEASE: STORE 7196
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2029    SHERATON PLAZA LLC                      $             -
                                                         ABILENE, TX
                                                         REAL PROPERTY LEASE: STORE 704
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2027   SHERWOOD COMMONS LP                     $             -
                                                         SAN ANGELO, TX
                                                         REAL PROPERTY LEASE: STORE 748
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2024   SHIRLEY VALENZIANO                      $       10,748.12
                                                         MIDLAND, TX
                                                         REAL PROPERTY LEASE: STORE 768
Cottonwood Financial Texas, LLC              24-80038                                      9/30/2027    SLJ MANAGEMENT COMPANY LTD              $             -
                                                         IRVING, TX



4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                            Desc
                                                              Main Document    Page 13 of 16

                                                                                           Term
Debtor                                       Debtor Case Contract Description                           Contract Counterparty                   Cure Amount
                                                                                           Remaining
                                                         REAL PROPERTY LEASE: STORE 7179
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2027   SOUTH COAST EXPRESS REALTY LTD          $               -
                                                         SAN ANTONIO, TX
                                                         REAL PROPERTY LEASE: STORE 721
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2028    TCB GREAT SOUTHWEST LLC                 $       13,153.94
                                                         GRAND PRAIRIE, TX
                                                         REAL PROPERTY LEASE: STORE 7159
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2025    TEXAS PALM HIGHLAND LLC                 $        6,572.50
                                                         LONGVIEW, TX
                                                         REAL PROPERTY LEASE: STORE 7169
Cottonwood Financial Texas, LLC              24-80038                                      11/30/2026   TEXFLOR LLC                             $        9,458.14
                                                         GUN BARREL CITY, TX
                                                         REAL PROPERTY LEASE: STORE 753                 ARG SAABITX001 LLC
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2025                                            $               -
                                                         ABILENE, TX                                    C/O THE NECESSITY RETAIL REIT
                                                         REAL PROPERTY LEASE: 7133X -
Cottonwood Financial Texas, LLC              24-80038    ROCKPORT TX (WINDSWEPT            11/30/2025   THE OAKS OF ROCKPORT VENTURE LTD        $               -
                                                         VILLAGE)
                                                         REAL PROPERTY LEASE: STORE 794
Cottonwood Financial Texas, LLC              24-80038                                      6/30/2028    TIDWELLYEH LLC                          $        7,422.00
                                                         WEATHERFORD, TX
                                                         REAL PROPERTY LEASE: STORE 7182
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2027   TKG SOUTHEAST MARKET CENTER             $               -
                                                         BALCH SPRINGS, TX
                                                         REAL PROPERTY LEASE: STORE 7161
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2026    TLA SAGINAW RE LLC                      $        6,576.90
                                                         SAGINAW, TX
                                                         REAL PROPERTY LEASE: STORE 7144
Cottonwood Financial Texas, LLC              24-80038                                      3/31/2029    TLA VICTORIA RE LLC                     $        8,710.00
                                                         VICTORIA, TX
                                                         REAL PROPERTY LEASE: STORE 776
Cottonwood Financial Texas, LLC              24-80038                                      2/29/2028    TOMLIN PARTNERS LLC                     $               -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 7104
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2029    TPI LCTC RETAIL LLC                     $               -
                                                         DICKINSON, TX
                                                         REAL PROPERTY LEASE: STORE 706
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2025   TRAVIS BURNET PARTNERS LP               $               -
                                                         WOODWAY, TX
                                                         AMENDED AND RESTATED
Cottonwood Financial Texas, LLC              24-80038    BROKERING AND SERVICING         12/31/2028     TREEMAC FUNDING GROUP, LLC              $               -
                                                         AGREEMENT DATED JANUARY 1, 2023
                                                         AMENDED AND RESTATED MASTER
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2028   TREEMAC FUNDING GROUP, LLC              $               -
                                                         LETTER OF CREDIT AGREEMENT
                                                         REAL PROPERTY LEASE: STORE 7523
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2027    TRENDY UNLIMITED                        $        2,979.17
                                                         NACOGDOCHES, TX
                                                         REAL PROPERTY LEASE: STORE 7160
Cottonwood Financial Texas, LLC              24-80038                                      5/31/2026    TSM VENTURES INC                        $             60.63
                                                         PFLUGERVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7525
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    TXPROP 1 LLC                            $               -
                                                         NEW BOSTON, TX
                                                         REAL PROPERTY LEASE: STORE 7530
Cottonwood Financial Texas, LLC              24-80038                                      7/31/2024    TXPROP 1 LLC                            $               -
                                                         TEXARKANA, TX
                                                         REAL PROPERTY LEASE: STORE 738
Cottonwood Financial Texas, LLC              24-80038                                      1/31/2025    TYLER PINE TREE SHOPPING CENTER LLC     $               -
                                                         TYLER, TX
                                                         REAL PROPERTY LEASE: STORE 709
Cottonwood Financial Texas, LLC              24-80038                                      8/31/2025    TYLER SOUTHPARK CENTER LP               $        5,951.04
                                                         TYLER, TX
                                                         REAL PROPERTY LEASE: STORE 770
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2027   VANTAGE BANK TEXAS                      $               -
                                                         MISSION, TX
                                                         REAL PROPERTY LEASE: STORE 772
Cottonwood Financial Texas, LLC              24-80038                                      10/31/2027   VERDE PASO PARTNERS LP                  $               -
                                                         EL PASO, TX
                                                         REAL PROPERTY LEASE: STORE 715
Cottonwood Financial Texas, LLC              24-80038                                      12/31/2026   VERNON HILLCREST LLC                    $               -
                                                         VERNON, TX




4859-4799-8389.1
                                  Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                              Desc
                                                              Main Document    Page 14 of 16

                                                                                                Term
Debtor                                       Debtor Case Contract Description                                Contract Counterparty                Cure Amount
                                                                                                Remaining
                                                         REAL PROPERTY LEASE: STORE 781
Cottonwood Financial Texas, LLC              24-80038                                           3/31/2028    VILLANUEVA REALTY LLC                $        6,520.00
                                                         HARKER HEIGHTS, TX
                                                         REAL PROPERTY LEASE: STORE 707
Cottonwood Financial Texas, LLC              24-80038                                           9/30/2025    WAGNER-MCCUNN, FLORENCE              $             -
                                                         PAMPA, TX
                                                         REAL PROPERTY LEASE: STORE 749
Cottonwood Financial Texas, LLC              24-80038                                           11/30/2024   WAHIDU LLC                           $             -
                                                         LUBBOCK, TX
                                                         REAL PROPERTY LEASE: STORE 736
Cottonwood Financial Texas, LLC              24-80038                                           9/30/2024    WALCORSI LLC                         $        7,344.74
                                                         CORSICANA, TX
                                                         REAL PROPERTY LEASE: STORE 742
Cottonwood Financial Texas, LLC              24-80038                                           5/31/2029    WALPAL LTD                           $             -
                                                         PALESTINE, TX
                                                         REAL PROPERTY LEASE: STORE 7178
Cottonwood Financial Texas, LLC              24-80038                                           11/30/2027   WESTGREEN RETAIL LP                  $        8,809.10
                                                         PORTER, TX
                                                         REAL PROPERTY LEASE: STORE 7131
Cottonwood Financial Texas, LLC              24-80038                                           10/31/2028   WESTKIRK VENTURE I LTD               $             -
                                                         HOUSTON, TX
                                                         REAL PROPERTY LEASE: STORE 7223
Cottonwood Financial Texas, LLC              24-80038                                           2/29/2028    WESTOVER BTBM LP                     $             -
                                                         AZLE, TX
                                                         REAL PROPERTY LEASE: STORE 703
Cottonwood Financial Texas, LLC              24-80038                                           7/31/2025    WILLIAM W BUTLER JR                  $             -
                                                         SAN ANGELO, TX
                                                         REAL PROPERTY LEASE: STORE 7173
Cottonwood Financial Texas, LLC              24-80038                                           4/30/2027    WILSON ESTES WILSON LLC              $             -
                                                         WICHITA FALLS, TX
                                                         REAL PROPERTY LEASE: STORE 712
Cottonwood Financial Texas, LLC              24-80038                                           12/31/2027   WINWOOD SHOPPING CENTER LLC          $             -
                                                         ODESSA, TX
                                                         REAL PROPERTY LEASE: STORE 752
Cottonwood Financial Texas, LLC              24-80038                                           6/30/2025    WM 47 SOUTH LLC                      $        9,803.90
                                                         SEAGOVILLE, TX
                                                         REAL PROPERTY LEASE: STORE 7155
Cottonwood Financial Texas, LLC              24-80038                                           1/31/2025    WOODBRIDGE WYLIE OWNER LLC           $             -
                                                         WYLIE, TX
                                                         REAL PROPERTY LEASE: STORE 7531
Cottonwood Financial Texas, LLC              24-80038                                           7/31/2026    WORSHAM, DON A                       $             -
                                                         SULPHUR SPRINGS, TX
                                                         Confidentiality and Non-solicitation
Cottonwood Financial Texas, LLC              24-80038                                           Various      All Employees                        $             -
                                                         Agreements

Cottonwood Financial Texas, LLC              24-80038    Agreement of Employment                Various      All Employees                        $             -

                                                         REAL PROPERTY LEASE: STORE 204
Cottonwood Financial Wisconsin, LLC          24-80039                                           3/31/2025    ABSOLUTE COMMERCIAL LLC              $             -
                                                         TWO RIVERS, WI
                                                         REAL PROPERTY LEASE: STORE 210
Cottonwood Financial Wisconsin, LLC          24-80039                                           6/30/2024    ARM MANAGEMENT LLC                   $             -
                                                         WEST BEND, WI
                                                         REAL PROPERTY LEASE: STORE 236
Cottonwood Financial Wisconsin, LLC          24-80039                                           3/31/2028    BADGER VBC PROPERTIES LLP            $        5,866.66
                                                         BARABOO, WI
                                                         REAL PROPERTY LEASE: STORE 203
Cottonwood Financial Wisconsin, LLC          24-80039                                           2/29/2028    BONGRUM LLC                          $             -
                                                         MADISON, WI
                                                         REAL PROPERTY LEASE: STORE 221                      WP MANAGEMENT
Cottonwood Financial Wisconsin, LLC          24-80039                                           10/31/2027                                        $             -
                                                         PRAIRIE DU CHIEN, WI                                C/O BRIDGER PROPERTY SERVICES LLC
                                                         REAL PROPERTY LEASE: STORE 251
Cottonwood Financial Wisconsin, LLC          24-80039                                           10/31/2026   COMRECO II LLC                       $        6,496.34
                                                         HARTFORD, WI
                                                         REAL PROPERTY LEASE: STORE 224
Cottonwood Financial Wisconsin, LLC          24-80039                                           9/30/2024    DERRICK DEVELOPMENT LP               $        4,867.48
                                                         NEW RICHMOND, WI
                                                         REAL PROPERTY LEASE: STORE 211
Cottonwood Financial Wisconsin, LLC          24-80039                                           5/31/2028    FAIR ACRES STATION, LLC              $             -
                                                         OSHKOSH, WI
                                                         REAL PROPERTY LEASE: STORE 202
Cottonwood Financial Wisconsin, LLC          24-80039                                           2/28/2025    FOSTER 60 LLC                        $        2,106.62
                                                         BELOIT, WI



4859-4799-8389.1
                                 Case 24-80035-swe11        Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                                Desc
                                                             Main Document    Page 15 of 16

                                                                                               Term
Debtor                                      Debtor Case Contract Description                                Contract Counterparty                  Cure Amount
                                                                                               Remaining
                                                        REAL PROPERTY LEASE: STORE 219
Cottonwood Financial Wisconsin, LLC         24-80039                                           9/30/2027    GENESIS426 LLC                         $             -
                                                        PLATTEVILLE, WI
                                                        REAL PROPERTY LEASE: STORE 208
Cottonwood Financial Wisconsin, LLC         24-80039                                           7/31/2024    HILGENBERG & ASSOCIATES, INC.          $             -
                                                        SHAWANO, WI
                                                        REAL PROPERTY LEASE: STORE 225
Cottonwood Financial Wisconsin, LLC         24-80039                                           6/30/2027    HUDSON MARKETPLACE LLC                 $             -
                                                        HUDSON, WI

Cottonwood Financial Wisconsin, LLC         24-80039    IA_ELT APPLICATION - EXE 12.8.22       12/8/2024    IOWA DEPARTMENT OF TRANSPORATION       $             -

                                                        REAL PROPERTY LEASE: STORE 207
Cottonwood Financial Wisconsin, LLC         24-80039                                           5/31/2027    IPANEMA GREEN BAY LLC                  $        5,697.04
                                                        GREEN BAY, WI
                                                        REAL PROPERTY LEASE: STORE 213
Cottonwood Financial Wisconsin, LLC         24-80039                                           12/31/2028   IREIT NEENAH FOX POINT LLC             $             -
                                                        NEENAH, WI
                                                        REAL PROPERTY LEASE: STORE 209
Cottonwood Financial Wisconsin, LLC         24-80039                                           4/30/2025    JAJIMMY WISCONSIN LLC                  $        7,366.00
                                                        MONROE, WI
                                                        REAL PROPERTY LEASE: STORE 205
Cottonwood Financial Wisconsin, LLC         24-80039                                           2/28/2025    JAMES D HENSEL                         $             -
                                                        APPLETON, WI
                                                        REAL PROPERTY LEASE: STORE 218
Cottonwood Financial Wisconsin, LLC         24-80039                                           12/31/2024   KWIK TRIP, INC                         $        5,211.10
                                                        RICE LAKE, WI
                                                        REAL PROPERTY LEASE: STORE 234
Cottonwood Financial Wisconsin, LLC         24-80039                                           2/28/2025    LITTLE KIWI INVESTMENTS LLC            $             -
                                                        WATERTOWN, WI
                                                        REAL PROPERTY LEASE: STORE 220
Cottonwood Financial Wisconsin, LLC         24-80039                                           9/30/2024    LOWTHERBROTHERS LLC                    $             -
                                                        RICHLAND CENTER, WI
                                                        REAL PROPERTY LEASE: STORE 212
Cottonwood Financial Wisconsin, LLC         24-80039                                           12/31/2027   MARKET BACELINE LLC                    $             -
                                                        GREEN BAY, WI
                                                        REAL PROPERTY LEASE: STORE 237
Cottonwood Financial Wisconsin, LLC         24-80039                                           4/30/2028    MME HOLDINGS LLC                       $             -
                                                        PLYMOUTH, WI
                                                        REAL PROPERTY LEASE: STORE 215
Cottonwood Financial Wisconsin, LLC         24-80039                                           6/30/2025    PJR PROPERTIES LLC                     $        9,300.00
                                                        SHEBOYGAN, WI
                                                        AGREEMENT FOR REPOSSESSION
Cottonwood Financial Wisconsin, LLC         24-80039                                           CURRENT      RECKERS TOWING                         $             -
                                                        AND TRANSPORTATION SERVICES
                                                        REAL PROPERTY LEASE: STORE 240
Cottonwood Financial Wisconsin, LLC         24-80039                                           10/31/2028   REI EQUITY PARTNERS IV LLC             $             -
                                                        KENOSHA, WI
                                                        REAL PROPERTY LEASE: STORE 226
Cottonwood Financial Wisconsin, LLC         24-80039                                           7/31/2026    SANTIVA LLC                            $             -
                                                        WAUSAU, WI
                                                        REAL PROPERTY LEASE: STORE 216
Cottonwood Financial Wisconsin, LLC         24-80039                                           6/30/2025    SOUTH TOWNE MALL LLC                   $        4,914.22
                                                        MONONA, WI
                                                        REAL PROPERTY LEASE: STORE 214
Cottonwood Financial Wisconsin, LLC         24-80039                                           7/31/2028    STORAGE UNLIMITED LLC                  $        6,619.88
                                                        KIMBERLY, WI
                                                        REAL PROPERTY LEASE: STORE 217
Cottonwood Financial Wisconsin, LLC         24-80039                                           5/31/2024    VANDERLOOP REAL ESTATE II              $       13,228.42
                                                        GREEN BAY, WI
                                                        REAL PROPERTY LEASE: STORE 223
Cottonwood Financial Wisconsin, LLC         24-80039                                           9/30/2024    VAUGHN AVENUE PROPERTIES LLC           $             -
                                                        ASHLAND, WI
                                                        REAL PROPERTY LEASE: STORE 233
Cottonwood Financial Wisconsin, LLC         24-80039                                           11/30/2025   VILLAGE CENTER STATION LLC             $             -
                                                        RACINE , WI
                                                        REAL PROPERTY LEASE: STORE 201
Cottonwood Financial Wisconsin, LLC         24-80039                                           1/31/2025    VN ENTERPRISES LLC                     $        4,532.32
                                                        SUN PRAIRIE, WI
                                                        REAL PROPERTY LEASE: STORE 206
Cottonwood Financial Wisconsin, LLC         24-80039                                           5/31/2028    ZIEMAN COMMERCIAL PROPERTIES LLC       $             -
                                                        NEW LONDON, WI
                                                        Confidentiality and Non-solicitation
Cottonwood Financial Wisconsin, LLC         24-80039                                           Various      All Employees                          $             -
                                                        Agreements



4859-4799-8389.1
                                 Case 24-80035-swe11                    Doc 208 Filed 04/05/24 Entered 04/05/24 15:56:48                                         Desc
                                                                         Main Document    Page 16 of 16

                                                                                                           Term
Debtor                                                Debtor Case Contract Description                                     Contract Counterparty                           Cure Amount
                                                                                                           Remaining
Cottonwood Financial Wisconsin, LLC                   24-80039     Agreement of Employment                 Various         All Employees                                   $             -




                             *The Retention Bonus Agreements contemplate payment of bonuses on August 31, 2024. As of the filing of this Cure Notice, Cure Costs are $0.




4859-4799-8389.1
